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                                     UNITED STATES DISTRICT COURT
                                      FOR THE DISTRICT OF ALASKA
 9
      Eric Cowley and Gillian Cowley, husband and
10    wife,                                                                  No.
                                          Plaintiffs,
11
                            vs.
                                                                    COMPLAINT and
      Cabela's Outdoor Adventures, Inc., a
12                                                                  JURY DEMAND
      Nebraska Corporation; Fred "Sky" Roberts;
13    and Eric Pawlak,
                                       Defendants.
14

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     Plaintiffs allege as follows:
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             1.      PARTIES:
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                     1.1     PLAINTIFFS Eric Cowie      hereinafter referred to as Cowie
18
     Cowley, husband and wife, are residents of King County, Washington.
[9
                     1.2     DEFENDANT. Cabela's Outdoor Adventures, Inc. (hereinafter referred to
20

2[   as Cabela), is a corporation, duly registered and licensed in Nebraska, and is conducting

22   business in the State of Washington.

23                   1.3     DEFENDANT. Fred "Sky" Roberts (hereinafter referred to as Roberts), at
24
     all material times was a resident of Kodiak Island County, Alaska, acting individually and as an
25
     agent/employee of Cabela.
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                     1.4     DEFENDANT, Erik Pawlak (hereinafter referred to as Pawlak), at all
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     material times was a resident of Sidney County, Nebraska, acting individually and as an
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29
     Complaint                                                        ERIC   & GILLIAN COWLEY
                                                                            PO BOX 1424
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     agent/employee        of    Cabela,   and    at   all   times    Pawlak    referred   to   himself   as

 2   "Cabela's Hunting Consultant".
 3
            2.       JURISDICTION AND VENUE:                 The subject matter hereof and the parties
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     hereto, being residents of the State of Washington or doing business in Washington State, or
 5
     based on diversity of citizenship, are subject to the jurisdiction of the above-entitled Court; and
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     venue is proper, and the amount in controversy exceeds $75,000.
 7

 8          3.       LIABILITY       FACTS       PERTAINING      TO    MISREPRESENTATION              FRAUD

 9   NEGLIGENCE:

10                   3.1        Plaintiff Cowley purchased a "Lodge Day-Pack Hunt" trip from Cabela
II
     said purchase occurred in Washington state, and was based on the sales and marketin
12
     representations by Cabela that the trip was a "Lodge Day-Pack Hunt".
13
                     3.2        The representations by Cabela were communicated by phone and emai
14
     to Cowley in Washington through Pawlak, who at all material times acted individually or as a
15

     agent/employee/representative of Cabela.
16

17                   3.3        Plaintiff Cowley justifiably relied on the representations made b

18   Pawlak/Cabela in the transaction and signed a Waiver pertaining to the "Lodge Day-Pack Hunt"

19   which Waiver was intended to limit Cabela liability and provide for any disputes to be subject t
20
     the laws of the State of Nebraska.
21
                     3.4        Many weeks after the initial transaction and before departure Cowie
22
     learned that the subject trip was not a "Lodge Day-Pack Hunt", but in fact was a "Mountain Goa
23
     Hunting Trip"; no Waiver was signed for the changed circumstances and the altered character 0
24

25   the trip and altered agreement.

26                   3.5        Over the next days, Cowley was repeatedly reassured that the trip wa

27   something that he could safely complete, with purchase of adequate equipment and clothin

28
     from Cabela itself, and reassured that the trip would be managed by qualified and ski lie
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     Complaint                                                             ERIC & GILLIAN COWLEY
                                                                                   po BOX 1424
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     professionals under the guidance and direction of Cabela's chosen "Outfitter", Defendan

 2   Roberts.
 3
                     3.6    The trip began on September 25, 2010, and over the course of the next
 4
     days Eric Cowley, along with a second customer, Jeremiah "Jed" Candreva, was exposed t
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     hazardous and injurious conditions.
 6
                     3.7    Based on the foregoing, Plaintiffs allege that the subject Waiver is invali
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 8
     due to misrepresentation and fraud, and further allege that Defendants' actions were negligen

 9   and Defendants were not competent and that the representations and actions of the Defendant

10   were reckless and intentionally misleading, and Defendants were indifferent to the risks an
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     hazards to which Cowley was exposed.
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            4.       PLAINTIFFS'DAMAGES:              As a direct, immediate and proximate result of sai
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     negligence, Plaintiffs sustained severe personal injuries, continuing temporary disabilities,
14
     probable permanent disabilities and loss of consortium, all to Plaintiffs' actual and continuin
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     harms and losses in an amount to be proven at trial.
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17          5.       RELIEF REQUESTED:             Wherefore, Plaintiffs pray for judgment agains

18   Defendants, jointly and severally, as follows:

19                   5.1    For an amount commensurate with Plaintiffs' injuries to be determined a
20
                            the time of trial;
21
                     5.2    For punitive damages;
22
                     5.3    For Plaintiffs' costs and disbursements herein;
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                     5.4    For Plaintiffs' pre-judgment interest on all liquidated amounts;
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25                   5.5    For Plaintiffs' attorney's fees;

26                   5.6    For such other and further relief as the Court deems just and equitable.

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29
     Complaint                                                           ERIC & GILLIAN COWLEY
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            6.       JURY DEMAND: Plaintiff demands a trial by jury of all claims asserted in thi

2
     Complaint.
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4           Dated this 22 nd day of September, 2011.


                                                       ~~~
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 6                                                     Eric Cowley
                                                       Pro Se Plaintiff
7
                                                       PO BOX 1424
 8                                                     NORTH BEND, WA 98045
                                                       (425) 531-1300
 9

10
                                                        ~L" CrJ~
                                                       Gillian Cowley
11
                                                       Pro Se Plaintiff
12                                                     PO BOX 1424
                                                       NORTH BEND, WA 98045
13                                                     (425) 531-1300

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     Complaint                                                      ERIC & GILLIAN COWLEY
                                                                          po BOX 1424
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